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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 Jaime Altamirano, on behalf of himself and others
 similarly situated in the proposed FLSA Collective
 Action,                                                             Case No. 1:22-cv-10500 (CM)

                           Plaintiff,
                                                                     NOTICE OF MOTION TO
                    - against -                                      DISMISS PLAINTIFF’S
                                                                     COMPLAINT
 127 Fourth Avenue Restaurant LLC (d/b/a Mocha Red
 Steakhouse + Mixology Bar), and Naphtaly Abenaim,

                            Defendants.




       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in

Support of Defendants’ Motion to Dismiss Plaintiff’s Complaint, and the Declaration of Bryn

Goodman, Esq. in Support of Defendants’ Motion to Dismiss Plaintiff’s Complaint, dated June

29, 2023, and the exhibits annexed thereto, and upon all of the prior papers and proceedings in

this case, Defendants 127 Fourth Avenue Restaurant LLC and Naphtaly Abenaim

(“Defendants”), by and through their attorneys, Fox Rothschild LLP, will move before the

Honorable Colleen McMahon, on a date and time to be determined by the Court, for an order

pursuant to Rules 12(b)(1), 12(b)(5), and 12(b)(6) of the Federal Rules of Civil Procedure,

dismissing Plaintiff’s Complaint, in its entirety, with prejudice. Defendants further seek an order
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granting Defendants costs, fees, and disbursements together with such other and further relief as

the Court deems just, proper, and equitable.



Dated: New York, New York

       June 29, 2023

                                                    Respectfully submitted,

                                                    FOX ROTHSCHILD, LLP

                                                    /s/ Bryn Goodman
                                                    Richard I. Scharlat, Esq.
                                                    Bryn Goodman, Esq.
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                                                    17th Floor New York, New York 10178
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